Case 2:05-cr-20056-SH|\/| Document 105 Filed 09/01/05 Page 1 of 2 Page|D 90

 
  
   

UNITED sTATES DISTRICT coURT mean sr /@lliIL/_ D_O,
wEsTERN DIsTRlCT oF TENNESSEE
Western Division 05 SEP -l PH 5: |1
UNITED sTATEs oF AMERICA Ct:§§|;;`li _ _HTL»!»}_TDH§UHT
-»vs- Case No. 2:05cr20056-21Ma

DEME'I`RIUS MCGEE

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
TUESDAY, SEPTEMBER 6, 2005 at 10:00 A.M. before United States Magistrate Judge Diane
K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: Septemberl,2005 Xgu{/W K @¢W

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

‘If not held immediately upon defendant's first appearanee, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(£) are present. Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8¢'85) Order of Ten'porary Detention

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Notice of Distribution

This notice confirms a copy of the document docketed as number 105 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

